Case 1:18-cv-12137-JPC-JLC Document 225-26 Filed 03/05/22 Page1of3

 

From: Kaye, Melissa [(O=CORPNYCHHC/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MELISSA. KAYE. BELLEVUE.NYCHHC.ORG]

Sent: 12/8/2017 3:32:22 PM

To: melissakayemd@gmail.com

Subject: Fw: News

Melissa Kaye, M.D.
Medical Director
Bronx Court Clinic
phone: 718-410-2345
Fax: 718-410-2344

 

From: Kaye, Melissa

Sent: Friday, December 8, 2017 2:33 PM
To: Colley, Jeremy

Subject: Re: News

Hi Jeremy,

Thanks for the update. Barry and | need to know if our lines are going to be converted to CHS lines. That
strongly doesn't work for either one of us. Barry has his waiver issue, and | am approaching my 20 year
longevity pay increase with Bellevue, and have a retroactive pay increase coming to me sometime next year.

What's the deal with Liz Owen as their point person? Are they grooming her to be director of CHS court clinic?
Barry and | will not report to her.

Please ask Ford what is happening with our pay lines, and about the Owen's leadership issue. We need to
know how aggressively to look for another job.

Thanks for your support, I'm sorry this is happening, | know it's very stressful for all concerned.

Melissa Kaye, M.D.
Medical Director
Bronx Court Clinic
phone: 718-410-2345
Fax: 718-410-2344

 

From: Colley, Jeremy

Sent: Friday, December 8, 2017 10:28 AM

To: Arias, Elizabeth; Bichsel, Lucy; Harper, Oliver; Mundy, Daniel; Solanki, Kanishk; Weiss, Jonathan
Cc: Moreira, Elizabeth; Elliot, Alan; Mathur, Jennifer; Kaye, Melissa; Winkler, Barry

Subject: RE: News

FYI — see below.

From: Owen, Elizabeth

Sent: Friday, December 08, 2017 10:25 AM

To: Perry, Alan ; Francois, Patrice ; Paradis, Cheryl ; Shao, Liang ; Radcliffe, Fiona ; Colley, Jeremy
Ce: Stewart, Sandra ; Meyers-Hamilton, Lesley ; Craigwell, Beverly ; mdemic@nycourts.gov; DAVE KELLY
(KELLYD@BrookiynDA.org) ; R. Peck (rpeck@legal-aid.org} ; Colleen A. King

Subject: Video conference with CHS

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Case 1:18-cv-12137-JPC-JLC Document 225-26 Filed 03/05/22 Page 2 of3

Hi all,

Just got out of the video conference with CHS. All in all it went very well. The lines we have open have been cleared and
should be posted very soon (clinical AND clerical). | have several interviews lined up for the MD position, but | really
need names of qualified and available psychologists. | only have 1 viable CV so far.

The move to CHS is pretty much a sure thing, but it seems to be primarily administrative. Re: move to Rikers: | expressed
some of the concerns | have and informed the group that defense attorneys, ADA’s and judges also have expressed
serious concerns to me about a possible move to Rikers and how it would increase the obstacles to meeting the city’s
goals. Everyone on our side of the table, including our interim Director, Sheldon McLeod (who worked at Rikers for
several years in the early 90’s) agreed that the clinics should remain where they are. When this was put to the CHS folks,
the response was that

SOME of the evals MAY be done at Rikers. | reiterated concerns about attorneys being present and hearings having to be
conducted which would throw scheduling staff into a vortex (ok, | didn’t use those exact words). They seemed to
consider my points but did not respond.

Re: timing. There was both talk of making this a smooth transition for ALL concerned and doing it on “our” timeline to
ensure a transition with as little disruption as possible but also an acknowledgement that we should keep moving ahead.
This will NOT replace the work we have done on the Queens pilot program.

Re: relationships with SUNY Downstate and NYU. Dr. Ford and Ms. Yang seem committed to keeping these alive so we
can continue to train residents — as a surprising amount of them show interest in forensics as a career due to the
excellent training we provide.

lam optimistic (albeit somewhat cautiously) that this transition will be beneficial both to us and to the process. Dr.
Baumann and | have been designated point people for future communication about the transition and working out the
details.

Best,

Liz

Elizabeth Owen, Ph.D.

Director, Forensic Psychiatry

Kings County Hospital

718-802-2927 (Brooklyn Forensic Clinic}

718-268-8277 (Queens Forensic Clinic)

From: Colley, Jeremy

Sent: Friday, December 01, 2017 4:50 PM

To: Arias, Elizabeth ; Bichsel, Lucy ; Ciric, Steven ; Harper, Oliver ; Mundy, Daniel ; Solanki, Kanishk ; Weiss, Jonathan

Ce: Moreira, Elizabeth ; Elliot, Alan ; Mathur, Jennifer

Subject: News

Hi all —

Correctional Health Services (CHS), the H/H division that oversees medical care at Rikers, called a meeting today, where
they informed Bellevue that CHS is working to consolidate the court clinics across the city under their control, removing
them frorn Bellevue and Kings County.

The call lasted 10 minutes, and was not detailed.

iam not confident that the court clinics will remain located at the court houses, and may be moved to Rikers. Or,
perhaps, H/H is planning on building a jail dedicated to mental health services, given the proposal to close Rikers —
where this might be, and when, | do not know.

To be clear, CHS did not say unequivocally the court clinics are moving, but my honest impression is that they will.

i do not know if the court clinics will remain affiliated with NYU, if they leave the Bellevue orbit.

i had planned to visit the clinic on Dec 12 to talk about another matter, but it is not inconsequential in light of this
development, but let’s meet on Dec 12 in any event to discuss.

| will keep you all posted — a lot of other players (Legal Aid, OCS, DOC, etc) have to sign off on this, so not a done deal,
but wanted everyone to know. | intend to make the best argument | can to consolidate, but keep operations at the court
houses, and if possible, under the auspices of Bellevue/NYU.

Jeremy Colley, M.D.

interim Director, Inpatient Psychiatry

Director, Division of Forensic Psychiatry

Bellevue Hospital Center

 

 

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Case 1:18-cv-12137-JPC-JLC Document 225-26 Filed 03/05/22 Page 3of3

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